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                       UNITED STATES DISTRICT COURT

                             DISTRICT OF MAINE


UNITED STATES OF AMERICA             )
                                     )
                                     )
                                     )
v.                                   )            CRIMINAL NO. 05-105-P-H-04
                                     )
RYAN REYES,                          )
                                     )
                  DEFENDANT          )


        ORDER ON DEFENDANT’S MOTION TO APPOINT COUNSEL


      The defendant has moved for the appointment of the Federal Defender to

represent him in seeking a reduction in his sentence on account of the lowering of

the crack cocaine offense levels in the Sentencing Guidelines. (The defendant

already has a lawyer in connection with another pending motion.)         But the

defendant’s original Guidelines calculations and his sentence were based upon

powder cocaine, not upon crack cocaine.       Therefore the new crack cocaine

Guideline cannot help him. The motion, treated also as a motion to reduce

sentence, is DENIED.

      SO ORDERED.

      DATED THIS 6TH DAY OF MARCH, 2008


                                            /S/D. BROCK HORNBY
                                            D. BROCK HORNBY
                                            UNITED STATES DISTRICT JUDGE
